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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


     UBIQUITI NETWORKS, INC.,


                          Plaintiff,

                  v.
                                                     Civil Action No.: 1:18-cv-05369
     CAMBIUM NETWORKS, INC.;
     CAMBIUM NETWORKS, LTD.;                         JURY TRIAL DEMANDED
     BLIP NETWORKS, LLC;
     WINNCOM TECHNOLOGIES, INC.;
     SAKID AHMED; and DMITRY
     MOISEEV,

                          Defendants.


     DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR EXTENSION OF
                   TIME TO FILE AMENDED COMPLAINT

       Defendants respectfully request that the Court deny Plaintiff’s motion for an extension of

time. Plaintiff has not shown good cause, and any further delays in presenting a coherent

complaint will continue to prejudice Defendants.

I.     PLAINTIFF HAS FAILED TO SHOW GOOD CAUSE

       Plaintiff has failed to show good cause for extending the deadline to file an amended

complaint. In its May 22 order, the Court gave Plaintiff two weeks (until June 5, 2019) to file an

amended complaint. (See Dkt. No. 59 at 10.) Plaintiff fails to explain why the allotted amount

of time is insufficient, particularly when drafting an amended complaint should be a relatively

straightforward process. Plaintiff is intimately familiar with the deficiencies in its original

complaint, which was the basis of approximately 75 pages of briefing, an hour of oral argument,

and a 10-page order. Further, Plaintiff admitted at the December 11, 2018 status conference that



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its copyright allegations are limited to Cambium’s alleged display of Plaintiff’s user interface

(see December 11, 2018 Status Conference Tr. (Exhibit 1 at 17:16-20)) and copying of

unidentified configuration and calibration information and the AirMAX protocol (see id. at

17:23-18:7, 36:25-37:2). Any amended complaint should simply incorporate these admissions

and recite the facts necessary to state plausible claims and put Defendants on actual notice.

        Any desire by Plaintiff to investigate alleged factual bases for its anticipated causes of

action does not provide good cause.           Plaintiff struggled at the December 11, 2018 status

conference to even “explain the contours of its claims.” (Dkt. No. 59 at 8.) This struggle,

coupled with the Court’s indication a week later that it was “likely to grant in substantial part the

motion to dismiss” (Dkt. No. 47), should have prompted Plaintiff to complete any such

investigation months ago. Plaintiff’s substitution of counsel similarly does not provide good

cause. Plaintiff’s current counsel appeared in this case over six weeks ago (see Dkt. Nos. 51–

53), and Plaintiff represented last month that its new attorneys “have had time to come up to

speed on the litigation[.]”1 (Dkt. No. 55 at 2, ¶ 4.) If Plaintiff’s counsel was “up to speed” a

month ago, it should have adequate time to file an amended complaint by June 5.

II.     THE PROPOSED DELAY WILL CONTINUE TO PREJUDICE DEFENDANTS

        Plaintiff’s proposed delay will continue to prejudice Defendants. This case has been

pending for over nine months. Plaintiff not only sued Cambium (the product manufacturer), but

also one of Cambium’s customers (Blip Networks) and one of Cambium’s channel partners

(Winncom Technologies) as well as two individual Cambium employees.                      The uncertainty

caused by this pending litigation has had a noticeable chilling effect on Cambium’s business,


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 Plaintiff specifically represented that, because its new attorneys were up to speed, granting its motion to
substitute would “not prejudice any party or cause undue delay.” Dkt. No. 55 at 2, ¶ 4 (emphasis added).
Extending the June 5 deadline axiomatically causes delay and will further prejudice Defendants, as
explained below.


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including on Cambium’s ability to onboard new channel partners and on the ability of existing

channel partners to market Cambium’s products to new and existing customers. To the extent

Plaintiff has any articulable claims, Defendants intend to swiftly demonstrate that such claim are

without merit. Defendants can only begin to do so after Plaintiff complies with the Court’s May

22 order.

III.     CONCLUSION

         Because Plaintiff has failed to show good cause and the proposed delay will continue to

prejudice Defendants, Defendants respectfully request that the Court deny Plaintiff’s motion.



Dated: May 24, 2019                             Respectfully submitted,

                                                BAKER BOTTS, LLP

                                                /s/ G. Hopkins Guy, III
                                                     One of their attorneys

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                               CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2019, I electronically filed the foregoing Defendants’
Opposition to Plaintiff’s Motion for Extension of Time to File Amended Complaint with the
Clerk of the Court using the CM/ECF system. I certify that all participants in the case are
registered CM/ECF users



                                               /s/ G. Hopkins Guy, III
                                                    G. Hopkins Guy, III




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